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                                        February 14, 2023

Lyle W. Cayce
Clerk of the Court
United States Court of Appeals
for the Fifth Circuit
600 S. Maestri Place
New Orleans, LA 70130

       Re:   Case No. 22-11036, Charitable DAF Fund, L.P. v. Highland Capital Management,
             L.P.; Unopposed Level-1 Request for Extension

Ladies and Gentlemen:

       This firm is counsel of record for Appellee in the above-referenced case. In accordance
with Rule 31.4 of the Rules and Internal Operating Procedures for the United States Court of
Appeals for the Fifth Circuit (the “Fifth Circuit Rules and IOPs”), Appellee respectfully requests
an extension of time to file its brief under Rule 28(b) of the Federal Rules of Appellate Procedure
of 30 days to April 7, 2023. Appellant’s counsel has indicated to Appellee’s counsel in writing
that Appellant does not oppose this requested extension.

        Due to the current briefing schedules for numerous other appeals and matters involving
Highland Capital Management, L.P. pending in both this Court and the United States District Court
for the Northern District of Texas, Appellee requests an additional 30 days to prepare Appellee’s
brief. Again, Appellant does not oppose the requested 30-day extension.

      This request is made for good cause shown under Rule 31.4.3.1 of the Fifth Circuit Rules
and IOPs.

       Thank you for your consideration and granting of this extension request.

                                            Very truly yours,



                                            Zachery Z. Annable
